                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISON
                           NO. 5:13-CT-3068-FL

KEITH V. HARNED                         )
                                        )
                  Plaintiff,            )
                                        )
                                        )
          v.                            )     MEMORANDUM IN SUPPORT
                                        )     OF MOTION TO DISMISS
UNITED STATES OF AMERICA,               )     SECOND AMENDED COMPLAINT
WARDEN SARA REVELL,                     )     AND FOR SUMMARY
ASSOCIATE WARDEN CAMPOS,                )     JUDGMENT
ASSOCIATE WARDEN HISCOCKS,              )
DOCTOR T. ANSARI,                       )
DOCTOR J. LINZAU,                       )
                                        )
                  Defendants,           )

     The United States of America, Warden Revell, Associate Wardens

Campos and Hiscocks, and Doctor Ansari (“Federal Defendants”) by and

through the United States Attorney for the Eastern District of North

Carolina, pursuant to Fed. R. Civ. P. 12(b)(6), file this memorandum

in support of Federal Defendants’ Motion to Dismiss for failure to

state a claim upon which relief can be granted and pursuant to Fed.

R. Civ. P. 56, for summary judgment, and in support thereof shows

unto the Court:

                        RELEVANT PROCEDURAL HISTORY

     On March 26, 2013, Plaintiff Keith V. Harned (“Harned”), an

inmate at the Federal Correctional Institution (“FCI-Butner”) in


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       Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 1 of 32
Butner, North Carolina, filed a complaint for personal injury under

the Federal Torts Claim Act (“FTCA”) against the United States for

injuries he suffered on August 10, 2010.          (DE 1, Compl. at 14-19).

Harned also filed suit for alleged inadequate medical care in

violation of the Eighth Amendment under Bivens v. Six Unknown Named

Agents of Federal Bureau of Narcotics,        403 U.S. 388 (1971), against

Warden Revell, Associate Wardens Campos and Hiscocks, Doctors Ansari

and Linzau. 1    Harned sought $3,840,000 and an order compelling the

Bureau of Prisons to grant Harned the medical treatment he seeks.

(DE 1, Compl. at 21-22). Federal Defendants moved to dismiss the

complaint and for summary judgment.          (DE 43, Fed. Defs.’ Mot. to

Dismiss and in the alternative for Summ. J.).        Harned moved for leave

to file a second amended complaint.       (DE 77, Pl.’s Jan. 9, 2015, Mot.

for Extension of Time; DE 78, Pl.’s Jan. 30, 2015, Mot. for Extension

of Time).    The Court allowed the motion and directed Harned to file

the second amended complaint by February 16, 2015.          (DE 79, Feb. 13,

2015, Order at 2).     The Court also denied the motions to dismiss and

ruled that the Court would consider the second amended complaint as

Harned’s final and complete complaint.        (DE 79, Feb. 13, 2015, Order

at 2).      On February 23, 2015, Harned filed the second amended



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         Defendant J. Linzau was a contract physician.
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         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 2 of 32
complaint 2 in response to the Court’s order.        (DE 80, Resp. to Court

Order (Second Amended Compl.).        Harned advances seven FTCA-related

claims against the United States and a Bivens claim alleging Federal

Defendants Revell, Campos, Hiscocks, and Ansari violated the Eighth

Amendment when they allegedly knew he suffered from a serious medical

condition that required corrective surgery and delayed and denied

him medical treatment.       (DE 80, Response (Second Amended Compl.),

pp. 24-44).

     Harned’s first claim asserts premises liability and active

negligence.     (DE 80, Response (Second Amended Compl.) at ¶¶ 114-21,

pp. 24-25).     Harned’s second claim asserts premises liability and

passive negligence.      (DE 80, Response (Second Amended Compl.) at ¶¶

122-30, pp. 25-26).      Harned’s third claim asserts premise liability

based on violation of law.      (DE 80, Response (Second Amended Compl.)

at ¶¶ 131-38, pp. 26-28).        Harned’s fourth claim asserts premise

liability based on violation of law and negligence per se. (DE 80,

Response (Second Amended Compl.) at ¶¶ 139-43, p. 28).              Harned’s

fifth, sixth, and seventh claims assert active negligence (medical

liability) based on the Bureau of Prisons (“BOP”) rejection of an



     2
       On July 8, 2014, Harned filed the first amended complaint. (DE
35, Am. Compl.).

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         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 3 of 32
outside medical consultant’s recommendation of a particular course

of treatment, that Harned alleges resulted in a lack of appropriate

medical treatment and temporary and permanent damage.              (DE 80,

Response (Second Amended Compl.) at ¶¶ 144-76, pp. 29-35).

     Harned’s also asserts that he suffered from a serious medical

condition, a fractured nose, requiring corrective surgery and Warden

Revell, Associate Wardens Campos and Hiscocks, and Doctors Ansari

and Linzau were deliberately indifferent to his medical condition

in violation of the Eight Amendment.          (DE 80, Response (Second

Amended Compl.) at ¶¶ 177-206, pp. 35-44).

     On April 21, 2015, the Court issued an order permitting

Plaintiff’s second amended complaint to go forward.          (DE 82, April

21, 2015, Order).

                             STATEMENT OF FACTS

     A. Harned’s Medical Clinical Encounters

     On August 10, 2010, at 7:45 p.m., Harned reported to BOP medical

personnel that he was injured while playing softball on a recreation

field at the medical center (FMC-Butner). (Ex. 1, Ansari Decl. at

¶ 6, p. 3). Harned alleges the injury occurred when a softball he

attempted to field hit a defective field condition and struck him

in the face causing significant injury that included several



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       Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 4 of 32
fractured facial bones.        (DE 80, Response (Second Amended Compl.)

at ¶ 37, p. 7).

      Nurse Ramona Clifton was on duty.         (Ex. 2, Clinical Encounter
                   3
Records, p. 1).        Harned told Nurse Clifton that his nose was “kind

of numb” and bleeding but he denied difficulty breathing.                 (Ex. 1

- Ansari Decl. at ¶ 6, p. 3).        Nurse Clifton noted minimal swelling
                                                                  4
on Plaintiff’s arrival, no deviated septum of nares                    and that

Plaintiff denied having difficulty breathing.          (Ex. 1 - Ansari Decl.

at ¶ 6, p. 3; Ex. 2, Clinical Encounter Records, p. 1).               Dr. Linzau

was an on duty physician.        (Ex. 2, Clinical Encounter Records, p.

3).   Dr. Linzau noted that there was no gross evidence of a fracture.

(Ex. 1 - Ansari Decl. at ¶ 6, p. 3; Ex. 2, Clinical Encounter Records,

p. 3).     Harned was discharged back to his housing unit and advised

to apply icepacks to prevent and/or decreased swelling and discomfort

and advised to use over-the-counter pain medications if needed. (Ex.



      3
       Dr. Ansari's refers to Harned’s clinical encounter records as
Attachment 1 of his declaration. Pursuant to Section L(2)(b) of the
Court's Electronic Policy and Procedure Manual the undersigned
designated Attachment 1 as Exhibit 2 of the Federal Defendants’
motion to dismiss.
      4
       According to Dr. Ansari, a deviated septum is a condition in
which the nasal septum (the bone and cartilage that divides the nasal
cavity in half) is significantly off center, or crooked, and that
condition can make breathing difficult. (Ex. 1, Ansari Decl. ¶ 6,
p. 3, fn. 1).
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          Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 5 of 32
1 - Ansari Decl. at ¶ 6, p. 3; Ex. 2, Clinical Encounter Records,

p. 2).

     On August 13, 2010, Alnissa Carter, a physician assistant (“P.A.

Carter”) examined Harned.        (Ex. 1 - Ansari Decl. at ¶ 7, p. 3).

Harned reported that the bleeding from his nose had stopped but that

his nose was still sore and he complained of bruising to his right

eye. (Ex. 1 - Ansari Decl. at ¶ 7, p. 3; Ex. 2, Clinical Encounter

Records, pp. 4-5).     That day, P.A. Carter ordered x-rays to rule out

a facial fracture. (Ex. 1 - Ansari Decl. ¶ 7, pp. 3-4; Ex. 2, Clinical

Encounter Records, pp. 6-8).        The radiologist noted that the x-ray

revealed that Harned had non-displaced nasal bone fractures with a

subtle non-displaced zygomatic mid-arch fracture.           (Ex. 1 - Ansari

Decl. at ¶ 7, p. 4).

     Harned was transferred to Durham Regional Hospital for an

evaluation.     (Ex. 1 - Ansari Decl. at ¶ 7, p. 4; Ex. 2 - Clinical

Encounter Records, 9-18).       Harned was returned from Durham Regional

Hospital the same day with a recommendation that on a later date a

specialist examine Harned.       (Ex. 1 - Ansari Decl. at ¶ 7, p. 4; Ex.

2 - Clinical Encounter Records, pp. 19-21).

     On August 20, 2010, Dr. Ansari reviewed the record from Harned’s

hospital    visitation    and   sent   a   consultation    request       to   the

Utilization Review Committee (“URC”) seeking authorization for Dr.
                                           6




         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 6 of 32
Robert Taylor, an outside specialist, to examine Harned.           (Ex. 1 -

Ansari Decl. at ¶ 8, p. 4; Ex. 2 - Clinical Encounter Records, p.

21).   The URC is a committee composed of BOP physicians that meet

to review and approve or deny all specialty consultation requests

that will be performed in-house at FCC-Butner or in the community

by an outside community medical provider.        (Ex. 1 - Ansari Decl. at

¶ 9, p. 4).     On August 25, 2010, the URC approved the follow-up

consultation.    (Ex. 1 - Ansari Decl. at ¶ 8, p. 4; Ex. 2 - Clinical

Encounter Records, p. 22).

       On August 30, 2010, BOP personnel transported Harned to Dr.

Taylor.   (Ex. 1 - Ansari Decl.      at ¶ 10, pp. 4-5; Ex. 2 - Clinical

Encounter Records, p. 23).       Dr. Taylor examined Harned. (Ex. 1 -

Ansari Decl. at ¶ 10, p. 5).     Dr. Ansari and a nurse saw Harned upon

his return.     (Ex. 1 - Ansari Decl. at ¶ 10, p. 5; Ex. 2 - Clinical

Encounter Records, pp. 26-27).        Harned did not complain of pain.

(Ex. 1 - Ansari Decl. at ¶ 10, p. 5; Ex. 2 - Clinical Encounter Records,

pp. 26-27).    Harned reported that surgery was scheduled. (Ex. 1 -

Ansari Decl. at ¶ 10, p. 5).       The physician assistant who reviewed

the records, however, noted that no surgery was scheduled.              (Ex. 1

- Ansari Decl. at ¶ 10, p. 5; Ex. 2 - Clinical Encounter Records,

pp. 24-25).



                                        7




        Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 7 of 32
        According to Dr. Taylor’s consultation notes, Harned appeared

to have “either a nasal chip fracture of the nasal bone on the right

or possibly subluxation of the cartilage.”             (Ex. 2 - Clinical

Encounter Records, p. 23).      The notes further revealed that it was

not possible to make a definitive determination without surgery.

(Ex. 2 - Clinical Encounter Records, p. 23).             Taylor discussed

various treatment options with Harned and Harned elected not to

proceed with an open exploration of the area, but he was willing to

try a closed reduction (a procedure to set a broken nose without

surgery) of the nasal fracture with stenting with packing as well

as a septoplasty (surgery to correct any problems in the nasal

septum).    (Ex. 1 - Ansari Decl. at ¶ 10, p. 5, fn. 2; Ex. 2 - Clinical

Encounter Records, p. 23).       The plan was for the procedure to “be

done sometime in the near future.”          (Ex. 1 - Ansari Decl. at ¶ 10,

p. 5; Ex. 2 - Clinical Encounter Records, p. 23).             Dr. Taylor’s

written report, however, was not sent to FMC-Butner until November

2010.    (Ex. 1 - Ansari Decl. at ¶ 10, p. 5; Ex. 2 - Clinical Encounter

Records, p. 23).    Dr. Ansari reviewed the final report on November

22, 2010.    (Ex. 1 - Ansari Decl. at ¶ 10, p. 5; Ex. 2 - Clinical

Encounter Records, p. 23).

    Dr. Ansari and BOP medical staff treated Harned on October 18-19,

2010; October 25, 2010; November 1, 2010; December 14, 2010; and
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        Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 8 of 32
December 18, 2010, for medical issues related to groin pain, chronic

lower back pain, and abdominal pain. (Ex. 1 - Ansari Decl. at ¶ 11,

pp. 5-6; Ex. 2 - Clinical Encounter Records, pp. 28-39).          A review

of Harned’s medical records reveals that at no time during that period

did Harned complain of nasal pain or difficulty breathing. (Ex. 1

- Ansari Decl. at ¶ 11, p. 6; Ex. 2 - Clinical Encounter Records,

pp. 28-39).   Specifically, Dr. Ansari saw Harned on October 18-19,

2010; October 25, 2010; and November 1, 2010, and at no time did Harned

complain to Dr. Ansari that Harned was experiencing pain in his nose

or was having difficulty breathing.        (Ex. 1 - Ansari Decl. at ¶ 12,

p. 6; Ex. 2 - Clinical Encounter Records, pp. 28-34).         Further, Dr.

Ansari does not recall receiving any inmate requests to staff,

commonly referred to as “cop-outs” and records maintained in Harned’s

medical file do not contain any cop-outs were sent to Defendant

Ansari.   (Ex. 1 - Ansari Decl. at ¶ 13, p. 6).

     Dr. Ansari and BOP medical staff saw Harned on numerous times

in 2011, including on February 15, 2011; April 13, 2011 (by Dr. Ansari

to renew Harned’s prescription for hyperlipidemia medication); May

13, 2011; July 29, 2011; August 2, 2011; August 12, 2011; August 30,

2011; September 27, 2011; October 20, 2011; and October 28, 2011.

July 29, 2011; August 12, 2011; August 30, 2011; September 27, 2011;

October 20, 2011; October 27, 2011; and October 28, 2011.              (Ex. 1
                                       9




       Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 9 of 32
- Ansari Decl. at ¶ 16, pp. 7-8). Dr. Ansari reviewed Harned’s medical

records and the records do not indicate Harned lodged any complaints

regarding Harned’s nose, pain in his face or nose, or difficulty

breathing. (Ex. 1 - Ansari Decl. at ¶¶ 14, 16-17, pp. 6-8; Ex. 2 -

Clinical Encounter Records, pp. 42, 48, 52-53, and 61-62).

      On April 29, 2011, Dr. Ansari ordered x-rays of Harned’s nasal

bones as a follow-up of Harned’s prior nasal bone fracture. (Ex. 1

- Ansari Decl. at ¶ 15, p. 7; Ex. 2 - Clinical Encounter Records,

p. 44).    On May 3, 2011, a radiologist took the x-rays. (Ex. 1 - Ansari

Decl. at ¶ 15, p. 7; Ex. 2 - Clinical Encounter Records, p. 45).       On

May 6, 201l, Dr. Ansari reviewed the x-ray results.       (Ex. 1 - Ansari

Decl., ¶ 11 at 5).       According to the Radiologist’s notes, the

findings     were   consistent    with    non-displaced    fractures   (a

non-displaced fracture is a fracture that is considered stable,

wherein the broken ends of the bones meet correctly and are aligned

and the bones usually stay in place during the healing process), which

were less apparent from that of the prior examination and could be

related to interval healing.      (Ex. 1 - Ansari Decl. at ¶ 15, p. 7;

Ex. 2 - Clinical Encounter Records, p. 45).

     On October 31, 2011, a physician assistant examined Harned and

Harned reported that his breathing was restricted but Harned did not



                                         10




      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 10 of 32
report any pain. (Ex. 1 - Ansari Decl. at ¶ 16, pp. 7-8; Ex. 2 -

Clinical Encounter Records, pp. 65-66).

     Dr. Ansari and various BOP medical personnel saw Harned on

January 5-6, 2012; January 9, 2012; January 13, 2012; January 20,

2012; January 27, 2012; February 3, 2012; February 22, 2012; May 17,

2012 (this includes a health screening performed when Harned was

transferred from FMC-Butner to FCI-Butner); June 7, 2012; June 26,

2012; June 29, 2012; July 26, 2012; September 7, 2012; November 3,

2012; November 5, 2012; November 8, 2012; and December 12, 2012.

(Ex. 1 - Ansari Decl. at ¶ 18, p. 8; Ex. 2 - Clinical Encounter Records,

pp. 67-69, 72-107, 109-12, 114-15, 130-43). The official records

demonstrate that at no point during these visitations did Harned

complain about pain in his nose, face, or that Harned had difficulty

breathing.   (Ex. 1 - Ansari Decl. at ¶ 18, p. 8; Ex. 2 - Clinical

Encounter Records, pp. 67-69, 72-107, 109-12, 114-15, 130-43).

     On January 6, 2012, Harned reported that he had a broken bone

in his nasal, zygomatic arch and a deviated septum but did not report

that he was experiencing pain in his nose. (Ex. 1 - Ansari Decl. at

¶ 18, pp. 8-9; Ex. 2 - Clinical Encounter Records, pp. 70-71).          Harned

also saw Dr. Ansari on that date but did not report that he was

experiencing pain in his nose or having difficulty breathing.             (Ex.



                                       11




       Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 11 of 32
1 - Ansari Decl. at ¶ 19, p. 9; Ex. 2 - Clinical Encounter Records,

pp. 72-73).

     After Harned’s transfer from FMC-Butner to the FCI-Butner on

May 17, 2012, Dr. Ansari had no further involvement in any aspect

of Harned’s medical care or treatment decisions. (Ex. 1 - Ansari Decl.

at ¶ 20, p. 9).

     On July 4, 2012, Harned contacted Clinical Director Duchesne

regarding the status of his consultation with an ear, nose, and throat

specialist.   (Ex. 1 - Ansari Decl. at ¶ 21, p. 9).              Harned was

informed that a consultation had not yet been scheduled and that

Harned should have raised that issue during his June 7, 2012, chronic

care encounter.   (Ex. 1 - Ansari Decl. at ¶ 21 at 9).           Harned was

instructed to discuss the matter with his treatment team during his

next chronic care encounter.     (Ex. 1 - Ansari Decl. at ¶ 21, p. 9;

Ex. 2 - Clinical Encounter Records, p. 108).

     On August 23, 2012, Clinical Director Duchesne initiated a

consultation request for an evaluation by an otolaryngologist (an

ear, nose, and throat specialist) in order to determine the medical

necessity of additional procedures. (Ex. 1 - Ansari Decl. at ¶ 22,

pp. 9-10; Ex. 2 - Clinical Encounter Records, p. 113).             Clinical

Director   Duchesne   noted   that   since   the   injury   in    2010,   no

documentation reflected continued issues related to Harned’s nasal
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      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 12 of 32
or facial pain.      (Ex. 1 - Ansari Decl. at ¶ 22, pp. 9-10; Ex. 2 -

Clinical Encounter Records, p. 113).

       On   September     20,    2012,     Dr.     Douglas    Holmes,    the

otolaryngologist, examined Harned.        (Ex. 1 - Ansari Decl. at ¶ 23,

p. 10; Ex. 2 - Clinical Encounter Records, pp. 118).             Dr. Holmes

reported that Harned had a narrowed right nasal valve with a septal

nasal fracture and that it would be “a very difficult repair.”           (Ex.

1 - Ansari Decl. at ¶ 23, p. 10; Ex. 2 - Clinical Encounter Records,

p. 118).    Dr. Holmes noted if the URC approved of the procedure, Dr.

Bill Shockley, a University of North Carolina professor would perform

the procedure.    (Ex. 1 - Ansari Decl. at ¶ 23, p. 10; Ex. 2 - Clinical

Encounter Records, p. 118).

       On September 25, 2012, a consultation request for an evaluation

was initiated. (Ex. 1 - Ansari Decl. at ¶ 23, p. 10; Ex. 2 - Clinical

Encounter Records, pp. 127-28).       On October 10, 2012, the URC denied

the evaluation request as medically unnecessary. (Ex. 1 - Ansari

Decl. at ¶ 23, p. 10; Ex. 2 - Clinical Encounter Records, p. 129).

       Dr. Ansari reviewed Harned’s medical records from 2013-2015.

(Ex. 1 - Ansari Decl. at ¶ 24, p. 10).        The medical records from those

periods do not indicate that Harned reported difficulty breathing

or nasal pain to medical staff.        (Ex. 1 - Ansari Decl. at ¶ 24, p.

10).    Harned underwent a sleep study in September 2014, to determine
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        Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 13 of 32
whether Harned suffered from sleep apnea.       (Ex. 1 - Ansari Decl. at

¶ 24, p. 10; Ex. 2 - Clinical Encounter Records, pp. 144-46). The

sleep study recommended that Harned undergo a Continuous Positive

Airway Pressure (“CPAP”) study (an in-lab sleep study) and lose

weight.    (Ex. 1 - Ansari Decl. at ¶ 24, pp. 10-11; Ex. 2 - Clinical

Encounter Records, p. 144).    On February 5, 2015, the CPAP study was

completed and as result of the study, Harned was issued a CPAP

machine.    (Ex. 1 - Ansari Decl. at ¶ 24, p. 11; Ex. 2 - Clinical

Encounter Records, pp. 147-49).

     B. BOP Administrative Remedy Procedure and FTCA Administrative
        Claim Process

     Harned   alleges   that   in   August/early    September    2011,   he

discussed with Associate Warden Campos the delay in treatment that

he believed he was entitled to receive. (DE 80, Response (Second

Amended Compl.), ¶ 75, pp. 15-16).         On December 27, 2011, Harned

filled out an Inmate Request to Staff form directed to the attention

of Associate Warden Campos. (Ex. 3 – Inmate Request to Staff).

Harned complained that his airflow was restricted due to what he

alleged was the August 2010 injury and requested corrective surgery.

(Ex. 3 – Inmate Request to Staff, p. 2).

     Associate Warden Campos speaks with many inmates on a variety

of topics in his role as an associate warden, including medical care.


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      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 14 of 32
(Ex. 4 – Campos Decl. at ¶ 3, p. 2).              Associate Warden Campos

routinely tells inmates to report their concerns to their primary

care providers.      (Ex. 4 – Campos Decl. at ¶¶ 3, 5, p. 2).        Although

Associate Warden Campos recalls speaking to Harned regarding medical

issues pertaining to Harned’s face, he does not recall the specifics

of the conversation and does not recall that Harned’s face had any

noticeable facial defects.        (Ex. 4 – Campos Decl. at ¶ 4, p. 2).

     Associate Warden Campos is not a medical official and is not

personally involved in providing medical care to inmates.                 (Ex. 4

– Campos Decl. at ¶ 6, p. 3).      Additionally, Associate Warden Campos

is not a member of the URC and does not have authority to submit or

refer an inmate for any medical procedure.           (Ex. 4 – Campos Decl.

at ¶ 7, p. 3).     Moreover, Associate Warden Campos was not the direct

supervisor of any medical personnel.          (Ex. 4 – Campos Decl. at ¶ 7,

p. 3).

     On January 10, 2012, Harned submitted Standard Form 95, his

administrative claim for injuries sustained in August 2010.                (Ex.

5 – Standard Form 95).

     On January 22, 2012, a copy of Harned’s Inmate Request to Staff

was sent to Associate Warden Hiscocks.          (Ex. 3 – Inmate Request to

Staff; DE 80, Response (Second Amended Compl.), ¶ 85, p. 18). Harned

alleges that he also spoke to Associate Warden Hiscocks between
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         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 15 of 32
January 2012, and March 2012, regarding what he alleged was the

failure to provide him with medical treatment. (DE 80, Response

(Second Amended Compl.) at ¶ 85, p. 18).      Although Associate Warden

Hiscocks does not recall Harned or speaking with him, Associate

Warden Hiscocks speaks to inmates on a variety of topics, including

medical care and routinely advises them to consult with their medical

providers.     (Ex. 6 – Hiscocks Decl. at ¶ 4, p.2).    Further, Associate

Warden Hiscocks is not a medical provider nor has he sat on the URC

and does not have authority to submit or refer an inmate for any

medical procedure.     (Ex. 6 – Hiscocks Decl. at ¶¶ 5-6, pp. 2-3).

     On April 9, 2012, Harned completed and sent Warden Revell a

request   for    administrative   remedy.      (Ex.     7   –   Request   for

Administrative     Remedy).     Harned    formally     requested   priority

placement for corrective surgery and $3,500,000 in damages. (Ex. 7

– Request for Administrative Remedy, p. 2).            On April 17, 2012,

Warden Revell denied Harned’s request, noting Harned’s medical

records showed that between October 19, 2010, and January 29, 2010,

Harned did not complain of difficulty breathing related to the August

2010 injury.    (Ex. 8 – Request for Administrative Remedy Response).

Warden Revell also advised Harned that the administrative remedy

program does not permit an inmate to receive monetary compensation

and referred Harned to the Federal Torts Claims Act.        (Ex. 8 – Request
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      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 16 of 32
for Administrative Remedy Response).           On April 26, Harned appealed

Warden Revell’s denial of his request to the Regional Director.           (Ex.

9 – Regional Administrative Remedy Appeal).

     On May 3, 2012, Harned submitted an amended Standard Form 95

in reference to his FTCA claim.        (Ex. 10 – Amended Standard Form 95).

     The    Regional    Director     denied    Harned’s   BOP   administrative

appeal. (Ex. 11 – Administrative Remedy Regional Appeal Response).

On July 17, 2012, Harned appealed the Regional Director’s denial of

his request to the Central Office.                (Ex. 12 – Central Office

Administrative Remedy Appeal).

     On September 19, 2012, BOP denied Harned’s administrative FTCA

claim.      (Ex.   13   –   Letter   dated    September   19,   2012,   denying

administrative claim).

     On November 19, 2012, the Central Office denied Harned’s appeal.

(Ex. 14 – Central Office Administrative Remedy Appeal Response).

                                       ARGUMENT

  I. Standard of Review

     Fed. R. Civ. P. 12(b)(6):

     A Rule 12(b)(6) motion to dismiss test the sufficiency of a

complaint.     Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir.

1999).     Pursuant to Fed. R. Civ. P. 8, a plaintiff must make a factual

showing of entitlement to relief rather than a blanket assertion
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         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 17 of 32
thereto.    Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007).

Although the Court must accept as true all factual allegations in

a complaint, the Court is not required to accept as true the

plaintiff’s legal conclusions.           Ashcroft v. Iqbal, 129 S. Ct. 1937,

1949 (2009).

      Fed. R. Civ. P. 56(c):

      The Court should grant summary judgment when, viewing the facts

in the light most favorable to the nonmoving party, there is no

genuine issue of material fact and judgment for the moving party is

warranted as a matter of law.        Danser v. Stansberry, 772 F.3d 340,

345 (4th Cir. 2014); Fed. R. Civ. P. 56.

II.   The Court should dismiss Harned’s Second Amended Complaint
      pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim
      upon which relief may be granted.

      A. FTCA Claims One through Seven

      Title 28, United States Code, Section 1346(b)(1), “creates a

limited    waiver   of    the   United    States’   sovereign   immunity   by

authorizing damages actions for injuries caused by the tortious

conduct of federal employees acting within the scope of their

employment when a private person would be liable for such conduct

under state law.”        Suter v. United States, 441 F.3d 306, 310 (4th

Cir. 2006).    Prior to filing a lawsuit, an individual must present

his administrative claim to the appropriate federal agency.                28
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       Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 18 of 32
U.S.C. § 2675(a).      Relevant here, an administrative tort claim must

be presented in writing within two years of accrual to the agency

whose activities gave rise to the claim.           28 U.S.C. § 2401(b).       Once

an individual presents a claim, the individual cannot initiate suit

until the agency denies the claim or six months have elapsed since

presentment and the agency has not formally rendered a decision.               28

U.S.C. § 2675(a).      After the denial of a tort claim, an individual

must commence the lawsuit within six months or the tort claim is

“forever barred.”      28 U.S.C. § 2401(b).

      Here, BOP denied Harned’s administrative claim on September 19,

2012.     (Ex.   13    -   Letter   dated    September      19,   2012,   denying

administrative claim).        Therefore, Harned was required to file his

federal complaint within six months, March 18, 2013.               Harned failed

to initiate suit within six months of notification of the denial of

his   administrative       claim.     Harned’s      original      complaint   was

processed as legal mail at FCI-Butner on March 23, 2013, as evidenced

by the prison stamp mark on the envelope Harned used to mail the

complaint.       (DE   1-1,   Envelope).         Further,   Harned’s      original

complaint includes his verification that he mailed his original

complaint on March 22, 2013.        (DE 1, Compl., p.23).          Thus, even if

the Court construes pursuant to Houston v. Lack, 487 U.S. 266, 270-76

(1988) and Lewis v. Richmond City Police Dep’t, 947 F.2d 733, 735-36
                                            19




        Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 19 of 32
(4th Cir. 1991)(per curiam), that Harned’s mailing date of March 22,

2013, constituted the filing date for purposes of 28 U.S.C. § 2401(b),

Harned’s FTCA complaint is untimely.          As such, the Court should

dismiss all of Harned’s FTCA claims.

       B. FTCA Claims Three and Four

       Claims Three and Four of Harned’s FTCA claims are also facially

insufficient.     Claims Three and Four allege premises liability based

on a violation of federal regulations.         Harned’s mere allegations

of a breach of duty under federal law, does not alone, state a valid

state tort claim against the United States.         Goldstar (Panama) S.A.

v. United States, 967 F.2d 965, 969 (4th Cir. 1992).

       The government’s duty of care owed to federal inmates is set

out in 18 U.S.C. § 4042 and is independent of an inconsistent state

law.    United States v. Muniz, 374 U.S. 150, 164 (1963); see also 18

U.S.C. § 4042.      Pursuant to § 4042, BOP shall “provide for the

protection, instruction, and discipline of all persons charged with

or convicted of offenses against the United States.”            18 U.S.C. §

4042(3).    Therefore, BOP procedures, policies, or standards are

irrelevant to the issue of whether the United States owed Harned a

duty of care under North Carolina state law.           Thus, to the extent

that Harned relies on federal law or regulation to impose a duty owed


                                        20




        Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 20 of 32
under North Carolina state law, Harned’s Claims Three and Four fail

to state a claim upon which relief may be granted.

     C. FTCA Claims Five, Six, and Seven

     Harned alleges in Claim Five that Defendant United States

breached its duty of care when it failed to provide appropriate

medical care which “subjected [Harned] to consequences of an

injurious nature which could be reasonably foreseeable, to wit:        a

collapsed or obstruction of the airway” that impaired his breathing.

(DE 80, Resp. (Second Amended Compl.) ¶ 145, p. 29).       Harned asserts

that Defendant United States denial of his request for corrective

surgery lead to his sleep apnea. (DE 80, Resp. (Second Amended Compl.)

¶ 145, p. 29).   Harned alleges in Claim Six that Defendant United

States negligently disregarded Dr. Taylor’s recommended treatment

plan resulting in a failure to treat the nasal fracture and collapse

of the nasal wall, which lead to impaired breathing, obstructive

sleep apnea and physical deformity.        (DE 80, Resp. (Second Amended

Compl.) ¶¶ 165-66, p. 33). Harned further alleges that a person he

expects to qualify as an expert under Federal Rule of Evidence 702

reviewed available records and the medical care he received and that

person would testify that he received substandard medical care. (DE

80, Resp. (Second Amended Compl.) ¶ 169, p. 33).       Harned alleges in

Claim 7 that: (1) Public Health Services Officers Duchesne, P.A.
                                      21




      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 21 of 32
Carter, and Nurse Clifton knew that he suffered from a serious injury,

(2) that Dr. Taylor had recommended corrective surgery, and (3)

Duchesene,     P.A.   Carter,    and       Nurse    Clifton   deliberately     and

intentionally failed to act and/or delayed providing him with medical

services, which resulted in a worsening of his medical condition.

(DE 80, Resp. (Second Amended Compl.) ¶¶ 172-73, p. 34).

        Harned’s alleges in Claims Five, Six, and Seven that a medical

care    provider   (URC)   refused        to   furnish   professional     services

(corrective nasal surgery).           As such, Claims Five, Six, and Seven

are medical malpractice claims and are subject to the certification

requirements in North Carolina Rule of Civil Procedure 9(j).

       The URC qualifies as a health care provider.                 North Carolina

Rule of Civil Procedure 9(j); Horsley v. Halifax Regional Medical

Center, Inc., 220 N.C. App. 411, 413, 725 S.E. 2d 420, 421 (2012).

Complaints alleging medical malpractice by a health care provider

shall    be   dismissed    unless    they      conform   to   the    certification

requirements of Rule 9(j).          Id.        Because Harned failed to comply

with Rule 9(j), the Court should dismiss Claims Five, Six, and Seven.

       The North Carolina General Assembly enacted Rule 9(j) in 1995

“in part, to protect defendants from having to defend frivolous

medical malpractice actions by ensuring that before complaint for

medical malpractice is filed, a competent medical professional has
                                               22




         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 22 of 32
reviewed the conduct of the defendants and concluded that the conduct

did not meet the applicable standard of care.”       Estate of Waters v.

Jarman, 144 N.C.App. 98, 100, 547 S.E. 2d 142, 144 (2001) (quotation

omitted).    Pursuant to Rule 9(j):

     (a)ny complaint alleging medical malpractice by a health
     care provider ... shall be dismissed unless: (1)(t)he
     pleading specifically asserts that the medical care and
     all medical records pertaining to the alleged negligence
     that are available to the plaintiff after           reasonable
     inquiry have been reviewed by a person who is       reasonably
     expected to qualify as an expert witness ...        and who is
     willing to testify that the medical care did        not comply
     with the applicable standard of care.

N.C. Gen. Stat. § 1A-1, Rule 9(j)(1) (2013)(emphasis added).           North

Carolina courts strictly enforce Rule 9(j)’s requirements and must

dismiss complaints that fail to meet its requirements.         Thigpen v.

Ngo, 355 N.C. 198, 202, 558 S.E.2d 87, 89 (2010).            A failure to

comply with Rule 9(j) is also a basis for dismissal of an FTCA a

complaint.    Littlepaige v. United States, 528 Fed. App’x 289, 292-93

(4th Cir. 2013)(collecting district court cases)(unpublished).

     Here, Claims Five and Seven fail because neither claim contains

the necessary Rule 9(j) certification.     Claim Six also fails.       Claim

Six states:

     Plaintiff alleges that the medical care and available
     medical records have been reviewed by a person who is
                                      23




      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 23 of 32
     reasonably expected to qualify as an expert witness under
     Rule 702 of the Rules of Evidence and who would testify
     that the medical care rendered by the Defendant did not
     comply with the applicable standard of care.

(DE 80, Resp. (Second Amended Compl.) ¶ 169, p. 33).        Harned failed

to allege that an expert had reviewed “all” records as required by

Rule 9(j).   It is impossible to discern whether Harned meant that

the expert reviewed all or some available records.            Because the

pleading requirements under Rule 9(j) must be strictly construed,

the Court should dismiss Claims Five, Six, and Seven.

III. Dismissal of Harned’s Bivens claims pursuant to Fed. R. Civ.
     P. 12(b)(6) and in the alternative summary judgment pursuant
     to Fed. R. Civ. P. 56 is warranted.

     Harned’s Bivens claims against Warden Revell, Associate Wardens

Campos and Hiscocks, and Dr. Ansari also fail because Harned’s

complaint fails to state an Eighth Amendment violation.           Further,

summary judgment is warranted because qualified immunity shields

Warden Revell, Associate Wardens Campos and Hiscocks, and Dr. Ansari.

     To establish a viable Eighth Amendment claim based on deliberate

indifference to serious medical needs, an inmate must prove two

elements: (1) that objectively the inmate’s medical condition was

serious, that is “one that has been diagnosed by a physician as

mandating treatment or one that is so obvious that even a lay person

would easily recognize the necessity for a doctor’s attention,” and


                                      24




      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 24 of 32
(2) that subjectively the prison officials knew of and disregarded

an excessive risk to an inmate’s health or safety.                Jackson v.

Lightsey, 775 F.3d 170, 177 (4th Cir. 2014)(quoting Iko v. Shreve,

535 F.3d 225, 241 (4th Cir. 2008)).            Deliberate indifference to a

prisoner's serious medical needs may be manifested by a correctional

officer “intentionally denying or delaying access to medical care

or intentionally interfering with the treatment once prescribed.”

Estelle v. Gamble, 429 U.S. 97, 104-05 (1976).                 A showing of

deliberate indifference requires "proof of more than mere negligence

but less than malice."       Williams v. Benjamin, 77 F.3d 756, 761 (4th

Cir. 1996).       A mere disagreement between an inmate and medical

personnel as to the inmate's course of treatment does not support

a   claim    of   cruel   and   unusual   punishment    unless   exceptional

circumstances exist.       Wright v. Collins, 766 F.2d 841, 849 (4th Cir.

1985).      Importantly, each government official is liable for his own

actions and the doctrine of respondeat superior does not apply.

Trulock v. Freeh, 275 F.3d 391, 402 (4th Cir. 2001)(holding that

Bivens liability “is personal, based upon each defendant’s own

constitutional violations”); Ashcroft v. Iqbal, 556 U.S. 662, 676

(2009).

      Here, Harned alleges that he informed Federal Defendants

Revell, Campos, and Hiscocks of Dr. Taylor’s recommendation and they
                                          25




         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 25 of 32
refused to act on the recommendation.             (DE 80, Resp.(Second Amend.

Compl.) ¶¶ 198, 200, pp. 42-43).                This argument fails because

Harned’s pleadings do not establish that Warden Revell and Associate

Wardens Campos and Hiscocks violated a clearly established statue

or   constitutional       tort.        Dr.   Taylor,   an   outside   physician,

recommended corrective surgery.              The URC exercised their medical

judgment and determined that corrective surgery was not medically

necessary.      (Ex. 1 - Ansari Decl. at ¶ 23, p. 10; Ex. 2 - Clinical

Encounter Records, p. 129).            Associate Wardens Campos and Hiscocks

and Warden Revell are not medical professionals, do not sit on the

URC, and have no authority to compel the URC to grant Harned’s

request. (Ex. 4 – Campos Decl. at ¶ 7, p. 3; Ex. 6 – Hiscocks Decl.

at ¶¶ 5-6, pp. 2-3; Ex. 15 – Revell Decl. at ¶¶ 5-6, p.2).            Therefore,

they cannot be liable under Bivens.              Ward v. Deboo, Civil Action

1:11CV68, 2012 WL 2359440 *5 (N.D. W. Va. Jan. 18, 2012)(finding no

liability where prison warden and chief medical officer had no role

in designating which prison would house state inmate)(unpublished). 5

      Further, Harned’s fails to state a claim against Associate

Wardens Campos and Hiscocks, and Warden Revell because a prison

administrator       may   rely    on     the   judgment     of   prison   medical


      5
      A copy of Ward is attached as Exhibit 16 to the memorandum in
support of motion to dismiss.
                                   26




          Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 26 of 32
professionals and inmates disputes over the proper course of

treatment do not support a Bivens claim.        Wright v. Collins, 766 F.2d

841, 849 (4th Cir. 1985; Dorsey v. Morgan, Civil Action No.

GLR-11-2723, 2012 WL 2512884 *6 (D. Maryland June 26, 2012)(finding

no Eighth Amendment violation where wardens relied on medical advice

to assign inmate to a prison cell bunk bed)(unpublished). 6

     Additionally,        Warden     Revell’s      denial     of     Harned’s

administrative grievance does not constitute an Eighth Amendment

violation because the denial of an inmate’s administrative grievance

is not the type of personal involvement required to state a Bivens

claim.    Batiste v. Federal Bureau of Prisons, et .al, Civil Action

Number 5:13-CV-13565, 2014 WL 3587919 *17 (S.D. W. Va. Jul. 21,

2014)(finding that a warden’s denial of an inmate's administrative

grievances is not the type of personal involvement that supports a

claim of deliberate indifference under the Bivens). 7

     Harned’s complaint fails to state a Bivens claim against Dr.

Ansari. Harned asserts Nurse Clifton and Dr. Linzau denied him

adequate medical care after he reported the injury.         (DE 80, Response



     6
      A copy of Dorsey is attached as Exhibit 17 to the memorandum
in support of motion to dismiss.
     7
      A copy of Batiste is attached as Exhibit 18 to the memorandum
in support of motion to dismiss.
                                   27




         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 27 of 32
(Second Amended Compl.), ¶ 182, p. 36).            Even if the claim were

accepted as true, which Federal Defendants deny, it would not impart

Bivens liability    to   Dr.   Ansari.        Further,   Dr.   Ansari’s   last

encounter with Harned was on May 17, 2012.          (Ex. 1 - Ansari Decl.

at ¶ 20, p. 9).    The URC rejected Harned’s request for corrective

surgery in October 2012. (Ex. 1 - Ansari Decl. at ¶ 23, p. 10; Ex.

2 - Clinical Encounter Records, p. 129).            Therefore, Dr. Ansari

cannot be liable under Bivens where he was not Harned’s primary

medical provider in October 2012, when the URC declined Harned’s

request for corrective surgery.

     For many of the same reasons stated above, qualified immunity

shields Warden Revell, Associate Wardens Campos and Hiscocks, and

Dr. Ansari because Harned’s complaint alleges no set of facts from

which a reasonable government official would know that their conduct

violated a clearly established right.          Qualified immunity “shields

government officials from civil liability insofar as their conduct

does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.’”           Trulock v.

Freeh, 275 F.3d 391, 399 (4th Cir. 2001) (quoting Harlow v.

Fitzgerald, 471 U.S. 800, 818 (1982)).          Qualified immunity acts to

shield law enforcement officers from civil liability for “bad guesses

in gray areas" and thus ensures that the officers will only be liable
                                         28




      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 28 of 32
for violating clear bright-line rules.         Braun v. Maynard, 652. F.3d

557, 560 (4th Cir. 2011).        Qualified immunity “operates to ensure

that before they are subject to suit, officers are on notice that

their conduct is unlawful.”        Hope v. Pelzer, U.S. 730, 731 (2002)).

A right is “clearly established” where the contours of that right

are sufficiently clear so that a reasonable officer would understand

that what he is doing violates that right.        Wilson v. Layne, 526 U.S.

603, 615 (1999).      As such, qualified immunity protects “all but the

plainly incompetent or those who knowingly violate the law.”              Malley

v. Briggs, 475 U.S. 335, 341 (1986).

     Harned alleges that he provided Warden Revell and Associate

Wardens Campos and Hiscocks with cop-outs notifying them of his

complaints.     (DE 80, Response (Second Amended Compl.), ¶¶ 85, 92,

pp. 18, 20).     These allegations, even accepted as true, would not

place Warden Revell and Associate Wardens Campos and Hiscocks on

notice that their conduct was unlawful because they are not medical

professionals and do not have the power to order the URC to approve

the relief Harned seeks.       (Ex. 4 – Campos Decl. at ¶¶ 6-7, p. 3; Ex.

6 – Hiscocks Decl. at ¶ 5-6, p. 2; Ex. 15 – Revell Decl. at ¶¶ 5-6,

p. 2).    Qualified immunity also shields Dr. Ansari. Prison medical

records reflect that Dr. Ansari and BOP medical staff treated Harned

on numerous occasions but that Harned did not complain of nasal or
                                         29




         Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 29 of 32
facial pain.    (Ex. 2 - Clinical Encounter Records, pp. 28-39, 42,

48, 52-53, and 61-62, 67-69, 72-107, 109-12, 114-15, 130-43).

Moreover, an x-ray performed on May 3, 2011, indicated that the nasal

fracture was healing.    (Ex. 1 - Ansari Decl. at ¶ 15, p. 7; Ex. 2

- Clinical Encounter Records, p. 45).      Thus, there was no reason at

the time for Dr. Ansari to believe Harned was not receiving adequate

medical care.

                                  CONCLUSION

     WHEREFORE, for the above stated reasons, Harned’s amended

complaint fails to state a claim upon which relief may be granted

on his FTCA and Bivens claims.       Additionally, qualified immunity

shields Warden Revell and Associate Wardens Campos and Hiscocks, and

Dr. Ansari and therefore summary judgment in their favor of is

warranted on Harned’s Bivens claims.

     Respectfully submitted, this 4th day of May 2015.

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                                      30




      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 30 of 32
                            NY Reg. No. 2481414
                            Attorney for Federal Defendants

                       CERTIFICATE OF SERVICE

     This is to certify on this 4th day of May 2015, the undersigned

served a copy of the foregoing Memorandum in Support of Defendants’

Motion to Dismiss by ECF/CM and by placing a copy of the same in the

U.S. Mail, addressed as follows:

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      Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 31 of 32
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                                32




Case 5:13-ct-03068-FL Document 84 Filed 05/04/15 Page 32 of 32
